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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA
                             Case No. 0:18-cv-60624-JIC

 SHABRINA GERMAN,
 individually and on behalf of all
 others similarly situated,

                      Plaintiff,

 v.

 ABILITY RECOVERY SERVICES, LLC,

                      Defendant.
                                              /

                          NOTICE OF PENDING SETTLEMENT

        Defendant, Ability Recovery Services, LLC (ARS), by and through undersigned

 counsel, hereby submits this Notice of Pending Settlement and states the parties have

 reached a settlement with regard to this case and are presently drafting, finalizing, and

 executing the formal settlement documents. Upon full execution of the same, the parties

 will file the appropriate dismissal documents with the Court.

 Dated: May 30, 2018                      Respectfully Submitted,

                                          /s/ Ashley N. Rector
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                                          Florida Bar No. 0106605
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                                           Attorneys for Defendant,
                                           Ability Recovery Services, LLC


                               CERTIFICATE OF SERVICE

        I certify that on this 30th day of May 2018, a copy of the foregoing was filed

 electronically in the ECF system. Notice of this filing will be sent to the parties of record

 by operation of the Court’s electronic filing system, including Plaintiff’s counsel as

 described below. Parties may access this filing through the Court’s system.

                                  Jibrael S. Hindi, Esq.
                            The Law Offices of Jibrael S. Hindi
                               110 SE 6th Street, Suite 1744
                                Ft. Lauderdale, FL 33301

                                           /s/ Ashley N. Rector
                                           Attorney




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